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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




 SAAD ALJABRI,
         Plaintiff,
 v.                                                      Civil Action No. 20-2146 (TJK)

 MOHAMMED BIN SALMAN BIN
 ABDULAZIZ AL SAUD, et al.,
         Defendants.


                             [PROPOSED] ORDER
_________________________________________________________________________


        UPON CONSIDERATION of Defendant Mohammed bin Salman bin Abdulaziz

Al Saud’s Motion To Dismiss Amended Complaint, any response thereto, further reply,

and the record herein, it is hereby

        ORDERED that Defendant Mohammed bin Salman bin Abdulaziz Al Saud’s Motion To

Dismiss Amended Complaint is hereby GRANTED; and it is further

        ORDERED that all claims asserted in Plaintiff Saad Aljabri’s Amended Complaint

against Defendant Mohammed bin Salman bin Abdulaziz Al Saud are dismissed with prejudice

for [lack of personal jurisdiction, lack of subject-matter jurisdiction, failure to join an

indispensable party pursuant to Rule 19 of the Federal Rules of Civil Procedure, and failure to

state a claim].

        SO ORDERED this ____ day of ____________ 2021.



                                                        ______________________________
                                                        Hon. Timothy J. Kelly
                                                        United States District Judge
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             Local Rule 7(k) Appendix: Names and Addresses of Attorneys
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